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               UNITED STATES DISTRICT COURT

                        DISTRICT OF OREGON

                         EUGENE DIVISION


WYATT MANN,                          Case No. 6:18-cv-28
an Oregon consumer,
individually and on                  CLASS ACTION
behalf of all others,                ALLEGATION COMPLAINT

                   Plaintiff,        Unlawful Trade Practices
                                     Unjust Enrichment
      v.
                                     28 U.S.C. § 1332
INTEL CORPORATION,
a Delaware corporation,              Demand for Jury Trial

                   Defendant.




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                                   1.

                           THE PARTIES

      Defendant Intel Corporation (Intel) is a Delaware corporation

that regularly advertises and sells microchips used in billions of

consumer computers, smartphones and devices across the globe. For

the past few months, Intel has been aware of a material defect in its

microchips that leaves its customers susceptible to unauthorized access

by hackers. The material defect lets hackers compromise the privileged

memory of Intel’s processors by exploiting the way processes run in

parallel. The material defect also lets hackers use code running in a

browser to access memory in the attacker’s process, potentially

exposing customers’ passwords and personal information. Intel knew of

the material defect in its microchips and intentionally chose not to

disclose the defect to its customers. Intel’s material defect can be

patched – but patched computers, smartphones and devices suffer

reduced performance.

                                   2.

      Plaintiff Wyatt Mann is an individual consumer residing in

Oregon. Like thousands of other consumers, plaintiff responded to

Intel’s advertisements in the past few months by paying to purchase a

Lenovo computer with an Intel microchip for $1,999.97 on December

11, 2017 from Best Buy.



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                                   3.

      Plaintiff relied on Intel’s advertisements and representations

about the features and performance of its microchip and would not have

purchased Intel’s microchip had he known it would require a patch that

would materially reduce its advertised performance rate.

                                   4.

                   JURISDICTION AND VENUE

      This Court has jurisdiction under 28 U.S.C. § 1332 because the

parties are citizens of different states and the amount in controversy

exceeds $15 billion, based on $200 statutory damages per consumer and

Intel’s estimated 2017 fourth quarter sales revenue of $16.3 billion.

Venue is proper under 28 U.S.C. § 1391 because Intel advertised its

microchip to plaintiff here and Intel carries on substantial microchip

advertising, production and sales in Oregon. This complaint’s

allegations are based on personal knowledge as to plaintiff’s conduct

and made on information and belief as to the acts of others.




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                                     5.

                     FACTUAL ALLEGATIONS

      For the past few months, Intel has advertised performance data

to the public for its microchips, including on product packaging and in

its online and written sales materials. Intel knew, and intentionally

failed to disclose to the public that its microchips contained a material

defect that left its customers’ computers, smartphones and devices

susceptible to unauthorized access by hackers. News of the material

defect was made public for the first time on Tuesday, January 2, 2018.

While patches are available to treat the material defect in Intel’s

microchips, experts say that the patches will cause slowdowns, some as

drastic as 25 percent to 30 percent depending on the computer,

smartphone or device.

                                     6.

      Intel’s failure to disclose the material defect in its microchips has

caused ascertainable losses to thousands of consumers like plaintiff

who would not have purchased Intel microchips had they known of the

material defects, and who were left with a microchip slower and less

valuable than they could have purchased for the same price from one of

Intel’s competitors that did not contain a material undisclosed defect.




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                                    7.

                       CLASS ALLEGATIONS

      Plaintiff files this complaint as a national class action lawsuit.

The class consists of consumers who:

   a) Purchased an Intel microchip, or purchased a computer,

      smartphone or other device containing an Intel microchip,

   b) After the date on which Intel became aware its microchips

      contained a material defect as alleged in this complaint, and

   c) Who suffered ascertainable loss based on Intel’s intentional

      failure to disclose the known material defect in its microchips.



                                    8.

      Excluded from the class are all attorneys for the class, officers

and members of Intel, including officers and members of any entity

with an ownership interest in Intel, or its parent or subsidiary

companies, any judge who sits on the case, and all jurors and alternate

jurors who sit on the case.

                                    9.

      The exact number of aggrieved consumers, which is well into the

thousands based on Intel’s sales volume, can be determined with Intel’s

sales records and data.




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                                    10.

      Every aggrieved consumer misled by Intel’s intentional failure to

disclose the material defect in its microchips as alleged in this

complaint suffered an actual ascertainable loss of the purchase price

they paid for their microchip. But for Intel’s failure to disclose the

known defect in its microchips, plaintiff and the members of the

putative class would not have bought Intel’s microchips and would have

instead purchased a microchip from one of Intel’s competitors for the

same price that did not suffer from a material defect.

                                    11.

       Intel’s behavior as alleged in this complaint willfully violated

the UTPA, including ORS 646.608(1)(t). This UTPA violation is

common to the putative class.

                                    12.

      The class is so numerous that joinder is impracticable. Upon

information and belief, the class includes thousands of members, based

on Intel’s reported sales records and data.




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                                      13.

       Common questions of fact and law predominate over any

questions affecting only individual class members. Common questions

include whether plaintiff and the class members are entitled to

equitable relief, whether Intel acted willfully, recklessly, knowingly,

and intentionally, whether plaintiff and the class members are entitled

to recover actual damages or statutory damages or punitive damages

from Intel, and whether plaintiff and the class are entitled to recover

fees and costs for Intel’s UTPA violation.

                                      14.

       Plaintiff’s claims are typical of the claims of the class because

each was misled by Intel’s failure to disclose, the injuries suffered by

plaintiff and the class members vary only in the amount paid for Intel’s

microchips, and plaintiff’s claim for relief is based upon the same legal

theories as are the claims of the other class members. Plaintiff will

fairly and adequately protect and represent the interests of the class

because his claim is typical of the claims of the class, he is represented

by nationally known and locally respected attorneys who have

experience handling class action litigation and consumer protection

cases who are qualified and competent, and who will vigorously

prosecute this litigation, and their interests are not antagonistic or in

conflict with the interests of the class.



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                                    15.

      A class action is superior to other methods for fair and efficient

adjudication of this case because common questions of law and fact

predominate over other factors affecting only individual members, as

far as plaintiff knows, no class action that purports to include

customers suffering the same injury under Oregon law has been

commenced, individual class members have little interest in controlling

the litigation, due to the high cost of actions, the relatively small

amounts of damages, and because plaintiff and his attorneys will

vigorously pursue the claims. The forum is desirable because Intel

carries on substantial microchip advertising, production and sales in

Oregon. A class action will be an efficient method of adjudicating the

claims of the class members who have suffered relatively small

damages, as a result of the same conduct by Intel. In the aggregate,

class members have claims for relief that are significant in scope

relative to the expense of litigation. The availability of Intel’s sales

records and data will facilitate proof of class claims, processing class

claims, and distributions of any recoveries.




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                                    16.

            NATIONAL CLASS CLAIMS FOR RELIEF

                              – Claim 1 –

                   VIOLATION OF ORS 646.608

      Intel willfully, recklessly, knowingly and intentionally violated

ORS 646.608 as alleged above, causing plaintiff and the class

ascertainable losses.

                                    17.

      Plaintiff and the class are entitled to equitable relief in the form

of an accounting, restitution, and unless agreed upon by Intel, an order

to preserve all sales data and sales records and documents and

information (and electronically stored information) pertaining to this

case. Plaintiff and the class are entitled to recover actual damages or

$200 statutory damages, whichever is greater, interest and fees and

costs under ORS 646.638. Intel’s violation of the UTPA as alleged above

was reckless, in pursuit of profit, and constituted a wanton, outrageous

and oppressive violation of the right of consumers to be free from

unlawful trade practices. Plaintiff and the class are entitled to recover

punitive damages under ORS 646.638.




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                                    18.

                               – Claim 2 –

                      UNJUST ENRICHMENT

      As a matter of justice and equity, Intel should not be able to

retain the profits it obtained from purchases of its microchips by

plaintiff and the class under these circumstances. Plaintiff and the

class are entitled to restitution based on Intel’s intentional and

knowing failures to disclose material defects and unjust enrichment as

alleged in this complaint.

                                    19.

      Demand for jury trial.




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                      PRAYER FOR RELIEF

      Plaintiff seeks relief for himself and the proposed class as

follows:


   A. Unless agreed upon by Intel, an order to preserve all sales

      records and sales data and documents and information (and

      electronically stored information) pertaining to this case,

   B. An order certifying this matter as a class action,

   C. Judgment against Intel for actual, statutory, and punitive

      damages, interest, and reimbursement of fees and costs,

   D. And other relief the Court deems necessary.



January 4, 2018

                                 RESPECTFULLY FILED,

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                        PROOF OF MAILING

        Under ORS 646.638(2), I declare and certify that on the date
  below I caused a copy of this complaint to be mailed to the Oregon
  Attorney General at the following address:


        Ellen Rosenblum
        Oregon Attorney General
        Oregon Department of Justice
        1162 Court Street NE
        Salem, Oregon 97301-4096


  January 4, 2018


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